THE FOLLOWING ORDER
IS APPROVED AND ENTERED
AS THE ORDER OF THIS COURT:

DATED: October 29, 2018
                                                             Beth E. Hanan
                                                             United States Bankruptcy Judge




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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN

IN RE:                                                )
                                                      )
TYRA STOKES                                           )     CASE NO. 16-21749
                                                      )     CHAPTER 13
                                                      )
         DEBTOR                                       )

                     ORDER CONDITIONING THE AUTOMATIC STAY

         In said District, the 9th of October, upon the Motion of SN Servicing Corporation to
Modify the Automatic Stay, due notice having been served upon all parties in interest; the
movant and the debtor(s) in agreement with the below terms and the Court having jurisdiction
and being fully advised in the premises;


         IT IS HEREBY ORDERED that the Automatic Stay shall remain in effect conditioned
upon the following:


    1. That in the event that debtor(s) become delinquent in their post-petition mortgage
payments during the six month period beginning with the November 2018 payment, delinquent




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being defined as having not been received by movant before the sixteenth (16th) day after which
such payment is due, SN Servicing Corporation may file and serve on the court, debtor(s), their
counsel, and the Trustee an Affidavit of Default and a proposed Order Modifying the Automatic
Stay for the court’s signature. Upon entry of such Order, the Automatic Stay in this cause shall be
modified for SN Servicing Corporation to proceed against debtor(s) with foreclosure of the
subject property, pursuant to Wisconsin law, without further order of the Court or proceeding
being necessary, and thereafter commence any action necessary to obtain possession of the
premises known as 4117 North 89th Street, Milwaukee, WI 53222. Monthly payments in the
amount of $1,087.97 are to be sent to creditor’s Payment Processing Center at SN Servicing
Corporation, PO Box 660820, Dallas, TX 75266-0820.

   2. At the termination of the six-month period, Creditor may renew its Motion by letter
notice to the Court, Debtor(s), and Debtor’s attorney, should payments not be received by
movant before the sixteenth (16th) day after which such payment is due.


   3. Debtor is to make one payment of $750.00 for the month of October, 2018. Regular on-
going installment payments will commence November 01, 2018.


   4. In order to cure the remaining post petition arrearage alleged in the Motion, SN Servicing
Corporation is granted leave to file a supplemental Proof of Claim in the amount of $4,867.37
consisting of four payments from June 01, 2018 to September 01, 2018 at $1,087.97 each; a
partial payment of $337.97 for October 01, 2018 and late charges of $181.52. The debtors
further agree to modify the plan, if necessary, to accommodate payment of the supplemental
claim.




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